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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                          CRIMINAL NO. 20-55
 VERSUS                                                            SECTION: “F” (4)
 JASON R. WILLIAMS                                                 VIOLATION:
 NICOLE E. BURDETT                                                 18 USC § 371
                                                                   26 USC § 7206 (2)
                                                                   31 USC § 5331 and 5322



                           NOTICE OF EVIDENTIARY HEARING


Take Notice that this criminal case has been set for an EVIDENTIARY HEARING on OCTOBER 22,

2020 at 1:30 p.m. before U.S. District Judge Martin L. C. Feldman, by video conference.

**AN EMAIL WILL BE SENT TO ALL PARTICIPANTS WITH A LINK TO THE VIDEO CONFERENCE**

Date: October 15, 2020                             CAROL L. MICHEL, CLERK

                                                   by: Cherie Stouder, Deputy Clerk
TO:
Jason R. Williams (Bond)
                                                   AUSA (Lafayette): Kelly Uebinger, T.A.
COUNSEL FOR DEFENDANT:                                               David J. Ayo
   William P. Gibbens
                                                   U.S. Marshal
TO:
Nicole E. Burdett (Bond)                           U.S. Probation & Pre-Trial Services Unit

COUNSEL FOR DEFENDANT:
  Michael Magner                                   INTERPRETER: None
  Avery Pardee

If you change address,
notify clerk of court
by phone, 504-589-7683
